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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION




 IN RE: AT&T, INC. CUSTOMER DATA                    CASE NO. 3:24-CV-00757-E
 SECURITY BREACH LITIGATION                         MDL DOCKET NO.: 3114


                         RESPONSE TO JUNE 12 STATUS REPORT

      Undersigned Counsel represents Plaintiffs Stephanie Doss, Aimee Jarvis, and Bethany Miller

and respectfully submit this Response to the Status Report filed by certain plaintiffs on June 12,

2024 (ECF No. 56). That Status Report and a subsequent Response by other plaintiffs (ECF No.

57) indicate that leadership applications may be forthcoming by those two groups of plaintiffs.

      Undersigned Counsel is unaware of any orders being entered by this Court establishing a

schedule for leadership applications for this newly formed MDL. As cases are still being filed and

consolidated into this MDL proceeding, any proposed leadership filing at this stage would a) be

premature, b) be unfair to the counsel who are awaiting the transfer of their case, and c) not conserve

judicial resources.

      Plaintiffs Stephanie Doss, Aimee Jarvis, and Bethany Miller respectfully request this Court

clarify that leadership applications from plaintiffs’ counsel should not be filed until the appropriate

time as established by this Court so that all counsel have the opportunity to fully participate in this

MDL and be adequately considered for leadership positions by the Court.



                                                     Respectfully submitted,




                                                     ________________________________
                                                     Maureen M. Brady MO#57800
                                                     MCSHANE & BRADY, LLC
                                                     4006 Central Street
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                                     Kansas City, MO 64111
                                     Telephone: (816) 888-8010
                                     Facsimile: (816) 332-6295
                                     E-mail:mbrady@mcshanebradylaw.com
                                     ATTORNEYS FOR PLAINTIFFS
